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                                                                           FILED IN THE
                                                                  UNITED STATES DISTRICT COURT
                                                                       DISTRICT OF HAWAII
JUDITH A. PIDLIPS                                                   Mar 17, 2021, 4:28 pm
                                                                  Michelle Rynne, Clerk of Court
Acting United States Attorney
District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,         )     CR.NO. -CR 21-00036 JMS
                                                 ------
                                  )
                  Plaintiff,      )     INDICTMENT
                                  )
      vs.                         )     [18 U.S.C. §§ 1343 and 1346]
                                  )
JOCELYN GODOY,                    )
                                  )
                  Defendant.      )
________                          )

                                INDICTMENT

The Grand Jury charges:
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                                    Counts 1 - 3
                             Honest Services Wire Fraud
                            (18 U.S.C. §§ 1343 and 1346)

       The Scheme to Defraud

       1.      In or about and between September 2019 and November 2020, both

dates being approximate and inclusive, within the District of Hawaii and

elsewhere, JOCELYN GODOY, the defendant, devised and intended to devise a

scheme and artifice to defraud and deprive the citizens of the City and County of

Honolulu and_its Department of Planning and Permitting ("DPP") of their rights to

the honest and faithful services of GODOY, who was then employed by DPP in its

Data Access and Imaging Branch, through bribery and the concealment of material

information.

      2.       The purpose of the scheme and artifice was for GODOY to secretly

use her official position to enrich herself by soliciting and accepting gifts,

payments, and other things of value in exchange for her provision of favorable

official action to persons who paid her bribes.

      3.       The scheme and artifice was carried out by the following manner and

means, among others:

               a.    From in or about September 2019 to in or about November

      2020, GODOY solicited and accepted gifts, payments, and other things of

      value from an architect and third-party reviewer ("Architect l "). GODOY


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        provided favorable official action on behalf of Architect 1 as requested and

        as opportunities arose, including by providing electronic copies ofDPP

        documents to Architect 1.

              b.     GODOY took steps to hide, conceal, and cover up her activity

        and the nature and scope of her dealings with persons who paid her bribes,

        including by taking bribes in cash and using a personal cell phone for

        communications with persons who paid her bribes, and by her failure to

        inform DPP of the bribes received by her in exchange for provision of

        electronic copies ofDPP documents by persons who paid her bribes.

        The Wire Communications

        4.    On or about the dates stated below, in the District of Hawaii and

elsewhere, and for the purpose of executing the aforesaid scheme and artifice to

defraud, and attempting to do so, GODOY did knowingly transmit, and cause to be

transmitted, certain writings, signs, signals, and sounds in interstate commerce,

with each such wire communication constituting a separate count of this

Indictment:

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  COUNT       ONORABOUT           DESCRIPTION OF WIRE COJ\1J\1UNICATION

      1          9/25/2019        Text message from Defendant to Architect 1
                                  stating, "Let me know if you want both do it can
                                  go on your long tab. Lol."
      2          6/10/2020        Text message from Defendant to Architect 1
                                  stating,
                                  "***NEW CHARGES***
                                      1) BP#294218 <5> $6.75
                                      2) BP#l 76348 <5> $6.75
                                      3) TOTAL TO DATE: $13.50"
     3           11/17/2020       Text message from Defendant to Architect 1
                                  stating, "That's It? Ugh [emoji] I thought it would
                                  be around $200.00. Lol femojis l"

       All in violation of Title 18, United States Code, Sections 1343 and 1346.

                                   Forfeiture Notice

       5.     The allegations set forth in all paragraphs of this Indictment are

hereby realleged and incorporated by reference for the purpose of noticing

forfeiture pursuant to Title 18, United States Code, Section 98l(a)(l)(C) and Title

28, United States Code, Section246l(c).

      6.      The United States hereby gives notice to Defendant that, upon

conviction of the offenses charged in Counts 1 - 3 of this Indictment, the

government will seek forfeiture, in accordance with Title 18, United States Code,

Section 98l(a)(l)(C) and Title 28, United States Code, Section 246l(c), of any and

all property, real or personal, constituting, or derived from, proceeds traceable to

the violation of Title 18, United States Code, Section 1343, alleged in this

Indictment.
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        7.      Ifby any act or omission of Defendant, any of the property subject to

 forfeiture described in paragraph 6 herein:

             a. · cannot be located upon the exercise of due diligence;

             b. has been transferred or sold to, or deposited with, a third party;

             c. has been placed beyond the jurisdiction of the court;

             d. has been substantially diminished in value; or

             e. has been commingled with other property which cannot be subdivided

                without difficulty,

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 the United States of America will be entitled to forfeiture of substitute property up

 to the value of the property described above in paragraph 6, pursuant to Title 21,

 United States Code, Section 853(p ), as incorporated by Title 28, United States

 Code, Section 2461 (c).

       DATED: March 17, 2021, Honolulu, Hawaii.

                                               A TRUE BILL

                                               / s/ Foreperson

                                               FOREPERSON, GRAND JURY



~
JUDITH A. PHILIPS
 Acting United States Attorney
 District of Hawaii


                             (
 CRAIG S. NOLAN
 MICHAEL NAMMAR
 Assistant U.S. Attorneys




 United States v. Jocelyn Godoy
 Indictment
 Cr.No. CR 21-00036 JMS


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